                                                                                                 FILED
                                                                                           CHARLOTTE, NC

                         IN THE L'NITED STATES DISTRICT COURT                                AUG 31 2017
                    FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                                                                                        US DISTRICT COURT
                                  CHARLOTTE DTVISION                                  WESTERN DISTRICT OF NC

                                CRIMINAL NO.: 3: I 7-cr-137-RIC

UNITED STATES OF AMERICA                              )
                                                      )         CONSENT ORDER AND
                                                      )       JUDGMENT OF FORFEITURE
                                                      )         PENDING RULE 32.2(cX2)
ALBERT HANKERSON                                      )


         BASED UPON the Defendant's plea of guilty and finding that there is a nexus between
the property  listed below and the offense(s) to which the Defendant has pled guilty and that the
Defendant (or any combination ofDefendants in this case) has or had a possessory interest or other
legal interest in the property, IT IS HEREBY ORDERED THAT:

        L     The following property is forfeited to the United States pursuant to l8 U.S.C. $ 924
andlor 28 U.S.C. S 2461(c), provided, however, that forfeiture ofspecific assets is subject to any
and all third party petitions under 21 U.S.C. $ 853(n), pending final adjudication herein:

        Approximately $8,352 in U.S. currency;

        One Smith & Wesson, model M&P 9C,9mm pistol with serial number HKK54EI:

        One Smith & Wesson, model M&P 40C pistol with serial number HBKl2ga; Ayf/

        One.22 caliber pistol, unknown make and model, with serial number V4721b..*,



        2.      The United States Marshals Service, the investigative agency, and/or the agency
contractor is authorized to take possession and maintain custody of the above specific asset(s).

        3.       If and to the extent required by Fed. R. Crim. P. 32.2(bX6), 2l U.S.C. g 853(n),
and/or other applicable law, the United States shall publish notice and provide direct written notice
of forfeiture.

        4.      Any person, other than the Defendant, asserting any legal interest in the property
may, within thirty days ofthe publication of notice or the receipt of notice, whichever is earlier,
petition the court for a hearing to adjudicate the validity ofthe alleged interest.

      5. Pursuant to Fed. R. Crim. P. 32.2(b)(3), upon entry ofthis order, the United Stares
Attomey's Office is authorized to conduct any discovery needed to identify, locate, or dispose of




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the property, including depositions, interrogatories, and request for production ofdocuments, and
to issue subpoenas pursuant to Fed. R. Civ. P. 45.

        6.      As to any specific assets, following the Court's disposition ofall timely petitions,
a final order of forfeiture shall be entered. If no third party files a timely petition, this order shall
become the final order of forfeiture, as provided by Fed. R. Crim. P. 32.2(c)(2), and the United
States shall have clear title to the property, and shall dispose ofthe property according to law.

         The parties stipulate and agree that the aforementioned asset(s) constitute property derived
from or traceable to proceeds of Defendant's crime(s) herein or property used in any manner to
facilitate the commission of such offense(s) and are therefore subject to forfeiture pursuant to l8
U.S.C. $ 924 andlor 28 U.S.C. $ 2461(c). The Defendant hereby waives the requirements ofFed.
R. Crim. P. 32.2 and 43(a) regarding notice of the forfeitue in the charging instrument,
announcement ofthe forfeiture at sentencing, and incorporation ofthe forfeiture in the judgment
against Defendant. If the Defendant has previously submitted a claim in response to an
administrative forfeiture proceeding regarding any of this property, Defendant hereby withdraws
that claim. If Defendant has not previously submitted such a claim, Defendant hereby waives all
right to do so. As to any firearms listed above and/or in the charging instrument, Defendant
consents to destruction by federal, state, or local larv enforcement authorities upon such legal
process as they, in their sole discretion deem to legally sufficient, and waives any and all right to
further notice of such process or such destruction.


JILL WESTMORELAND ROSE
IJNITED STATES ATTORNEY




STEVEN R, KATJFMAN
                                                        agJa+, lr--"-'".
                                                        ALBERT HANKERSON
Assistant United States Attomey                         Defendant




                                                                        RE.EGZIABHER



Signed this the 3l"t day ofAugust 2017.



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                                                HONO                      KEESLER
                                                LJNITED STATES MAGISTRATE JUDGE




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